                  EXHIBIT 7




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                                    A    P R O F E S S I O N A L            C O R P O R A T I O N

                                                         •   L A W    O F F I C E S        •

                                          700 BROADWAY       •  NEW YORK, NY 10003-9536
PERRY WEITZ
ARTHUR M. LUXENBERG
                                          TEL. 212-558-5500            FAX 212-344-5461
                                                        WWW.WEITZLUX.COM                                                   * Of Counsel
                                                                                                                            Admitted only in NJ and PA
                                                                                                                            Admitted only in CA
                                                                                                                           §§ Admitted only in IL
BENNO ASHRAFI                THOMAS COMERFORD ≈             ERIK JACOBS               ADAM C. RAFFO                        Admitted only in MI
JAMES J. BILSBORROW ††        EDWARD M. COSTELLO,III        A. NAOMI JAWAHAR          ALLISON H. RAIJMAN                   Admitted only in OH
CHARLES M. FERGUSON           TERESA A. CURTIN ¶¶            JEFFREY S. KANCA  Ω     PIERRE RATZKI                       ∼∼ Admitted only in PA
ALANI GOLANSKI †              BENJAMIN DARCHE                DAVID M. KAUFMAN ††       CHRIS ROMANELLI ††                   Admitted only in TX
ROBIN L. GREENWALD §§         JUSTINE K. DELANEY             SEAN K. KERLEY Φ          BRITTANY A. RUSSELL ••               Admitted only in CO, IN, UT & WI
GARY R. KLEIN ††              ADAM S. DREKSLER               CHANTAL KHALIL            ALEXANDER C. SCHWARZ ˠ              ∆∆ Also admitted in CA, TX, MO
JERRY KRISTAL ••§             JASON B. DUNCAN ¶              ILYA KHARKOVER            JARED SCOTTO                        ºº Also admitted in CO
ELLEN RELKIN ≈ ££ ˠ           BRANDON DUPREE                SUZANNE KRIEGER ∼∼        BHARATI O. SHARMA ¶                 § Also admitted in DC
MICHAEL P. ROBERTS            F. ALEXANDER EIDEN ¶           JARED LACERTOSA           ALEXANDRA SHEF 
NICHOLAS WISE ºº              MICHAEL FANELLI ††             DEBBI LANDAU              FALLON S. SHERIDAN                  º Also admitted in FL
GLENN ZUCKERMAN               LEONARD F. FELDMAN ¶                                     EDUARDO R. SOTOMAYOR ††              Also admitted in MA
                                                             LAUREN S. LINSENBACH ∼∼
                              AARON S. FREEDMAN              ELIZABETH J. LUXENBERG    SAMANTHA E. STAHL                    Also admitted in IL
                              STUART R. FRIEDMAN *           JOSEPH J. MANDIA ¶        GREGORY STAMATOPOULOS              †† Also admitted in NJ
MEREDITH ABRAMS
                              MARY GRABISH GAFFNEY ¶         COLIN MARKEL              TYLER R. STOCK                     ˠ Also admitted in PA
ASHLEY S. ARRARAS § º
ANDREW L. BACKING            ERICARAE GARCIA              JAMIE MATTERA             PETER TAMBINI ††                     Φ Also admitted in SC
                              ANDREW J. GAYOSO ∼             BRENDAN A. MCDONOUGH ††   JAMES S. THOMPSON ††                ∼ Also admitted in WI
LAURA J. BAUGHMAN ∆∆ *
                              DIANA GJONAJ                  SARA MERRILL º            BENJAMIN VANSLYKE                   Admitted only in CA & UT
RETT BERGMARK 
DEVIN BOLTON                 DANIELLE M. GOLD ††            MICHELLE C. MURTHA ¶      CASEY THAL VERVILLE                ¶ Admitted only in NJ & PA
ERIN M. BOYLE ¶               LAWRENCE GOLDHIRSCH * º        MELINDA DAVIS NOKES     JASON M. WEINER                    Admitted only in OR & MI
AMBRE J. BRANDIS              NICHOLAS A. GONSALVES          PAUL F. NOVAK            JASON P. WEINSTEIN                   Also admitted in DC & MD
RORY P. BUCKLEY               ROBERT J. GORDON *††           JOSEPH T. OSBORNE º       MARK S. WEINSTEIN  ₣               † Also admitted in NJ & CT
VENUS BURNS                  LAURA GREEN ††                 JOSIAH W. PARKER         LAUREN A. WEITZ                     ≈ Also admitted in NJ & DC
PATTI BURSHTYN ††             CODY M. GREENES ¶              MICHAEL E. PEDERSON       JUSTIN J. WEITZ                     ¶¶ Also admitted in NJ & ME
ALICIA D. BUTLER            MATTHEW A. GRUBMAN ¶           BRANDON H. PERLMAN        MARK WEITZ                          •• Also admitted in NJ & PA
NANCY M. CHRISTENSEN ††       NICOLE A. HYATT                MICHAEL P. PIGGINS       MARC WILLICK                       Ω Also admitted in CT & RI
GABRIEL D. CLENDENNING        MARIE L. IANNIELLO † º *       ROBERT J. QUIGLEY        IILANA S.WOLK ††                    ₣ Also admitted in NJ & PA
BENJAMIN T. CLINTON                                                                                                        ££ Certified Atty. NJ Supreme Court
                                                                                                                           Also admitted in CA
                                                                                                                           ∼∼ Admitted only in PA




                                                                              March 28, 2025

Via Email

Haroon Anwar, Esq.
Environmental Torts Litigation Section
U.S. Department of Justice
P.O. Box 340
Ben Franklin Station
Washington, D.C. 20044
Haroon.Anwar@usdoj.gov

                              Re:            In re Camp Lejeune – Proposed Expert Site Visit

Counsel:

This is to confirm that at our scheduled meet and confer this afternoon, DOJ communicated its
refusal to allow Dr. Sabatini access to the same facilities and people at Camp Lejeune that was
provided to Dr. Hennet in Feb. 2025. The day after Dr. Hennet’s deposition, counsel for Plaintiffs
requested via the attached email that Dr. Sabatini be provided with access to Camp Lejeune to tour
the Hadnot Point Water Treatment Plant (HP WTP) and other facilities and be allowed to
interview HP WTP employees.

                             220 LAKE DRIVE EAST, SUITE 210 • CHERRY HILL, NJ 08002 • TEL 856-755-1115
                          1880 CENTURY PARK EAST, SUITE 700 • LOS ANGELES, CA 90067 • TEL 310-247-0921
                             3011 WEST GRAND BLVD., 24TH FLOOR • DETROIT, MI 48202 • TEL 313-800-4170



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During Dr. Hennet’s deposition on March 20, Plaintiffs’ counsel learned that during his Feb. 2025
site visit, Dr. Hennet interviewed numerous personnel who work at the HP WTP; reviewed data on
monitors at the plant regarding various water levels and other data points; directed the taking of
approximately 100 photographs of the site; directed, watched and timed the filling of a water
buffalo; and took or directed the taking of numerous measurements of various parts of the HP
WTP and other facilities. Two pages of notes of Dr. Hennet, which set forth his impressions from
his site visit, were produced on February 25, 2025 along with approximately 100 photographs.
During our meet and confer today, Mr. Anwar stated that Dr. Hennet’s tour of Camp Lejeune in
Feb. 2025 was conducted to “respond to the rebuttal report” of Dr. Sabatini. No such response is
contemplated or allowed by the Federal Rules of Civil Procedure or this Court’s orders.

It is Plaintiffs’ position that Dr. Hennet’s site visit, and all facts, data, impressions and opinions
resulting from same, are in violation of the Federal Rules and this Court’s orders. The visit
occurred two months after Dr. Hennet’s report was served, one month after Plaintiffs’ rebuttal
reports were served, and six months after fact discovery concluded for Phase I. During our meet
and confer today, Plaintiffs’ counsel offered to waive any objections they have to the Feb. 2025
site visit in exchange for Dr. Sabatini being permitted to tour the site in the same manner as Dr.
Hennet, prior to Dr. Sabatini’s April 11 deposition. DOJ declined this offer.

                                                       Very truly yours,



                                                       Laura J. Baughman




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